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 1   DANIEL J. BRODERICK, Bar# 89424
     Federal Defender
 2   BENJAMIN D. GALLOWAY, Bar# 214897
     Assistant Federal Defender
 3   801 I Street, 3rd Floor
     Sacramento, California 95814
 4   Telephone (916) 498-5700

 5   Attorney for Defendant
     OSCAR GOMEZ GORIBALDO
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 7
 8                      IN THE UNITED STATES DISTRICT COURT
 9                    FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11
     UNITED STATES OF AMERICA,    )
12                                )      CR. S-11-354-LKK
                  Plaintiff,      )
13                                )      STIPULATION AND ORDER
             v.                   )
14                                )      DATE: August 28, 2012
     EVARISTO ARREOLA-VENTURA, et )      TIME: 9:15 a.m.
15   al.,                         )      JUDGE: Hon. Lawrence K. Karlton
                                  )
16                Defendants.     )
     ____________________________ )
17
18      It is hereby stipulated and agreed to between the United States of
19   America through TODD LERAS, Assistant U.S. Attorney, and defendant
20   OSCAR GOMEZ GORIBALDO by and through his counsel, BENJAMIN GALLOWAY,
21   Assistant Federal Defender and defendant EVARISTO ARREOLA-VENTURA, by
22   and through his attorney, OLAF HEDBERG, that the status conference set
23   for Tuesday, June 19, 2012, be continued to Tuesday, August 28, 2012,
24   at 9:15 a.m., for status conference.
25      The reason for this continuance is to allow defense counsel
26   additional time to review discovery with the defendant, to examine
27   possible defenses and to continue investigating the facts of the case.
28      It is further stipulated that the time period from the date of this
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 1   stipulation, June 14, 2012, through and including the date of the new
 2   status conference, August 28, 2012, shall be excluded from computation
 3   of time within which the trial of this matter must be commenced under
 4   the Speedy Trial Act, pursuant to 18 U.S.C. §§ 3161 (h)(7)(B)(iv)and
 5   Local Code T4 [reasonable time for defense counsel to prepare], and
 6   that the ends of justice served by the granting of such continuance
 7   outweigh the interests of the public and the defendant in a speedy
 8   trial.
 9   DATED: June 14, 2012                    Respectfully submitted,
10                                           DANIEL J. BRODERICK
                                             Federal Defender
11
                                             /s/ Benjamin Galloway
12                                           BENJAMIN GALLOWAY
                                             Assistant Federal Defender
13                                           Attorney for Defendant
                                             OSCAR GOMEZ GORIBALDO
14
15
                                             /s/ Benjamin Galloway for
16                                           OLAF HEDBERG
                                             Attorney for Defendant
17                                           EVARISTO ARREOLA-VENTURA
18
     DATED: June 14, 2012                    BENJAMIN B. WAGNER
19                                           United States Attorney
20                                           /s/ Benjamin Galloway for
                                             TODD LERAS
21                                           Assistant U.S. Attorney
                                             Attorney for Plaintiff
22
23
24                                     O R D E R
25      Based on the stipulation of the parties and good cause appearing
26   therefrom, the Court hereby adopts the stipulation of the parties in
27   its entirety as its order.        It is hereby ordered that the presently set
28   June 19, 2012, status conference shall be continued to August 28, 2012,


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 1   at 9:15 a.m..   It is further ordered that the time period from the date
 2   of the parties' stipulation, June 14, 2012, through and including the
 3   date of the new status conference hearing, August 28, 2012, shall be
 4   excluded from computation of time within which the trial of this matter
 5   must be commenced under the Speedy Trial Act, pursuant to 18 U.S.C. §
 6   3161 (h)(7)(B)(iv) and Local Code T4 [reasonable time for defense
 7   counsel to prepare].
 8      Based on the stipulation of the parties and good cause appearing
 9   therefrom, the Court hereby finds that the failure to grant a
10   continuance in this case would deny defense counsel reasonable time for
11   effective preparation taking into account the exercise of due
12   diligence.   The Court specifically finds that the ends of justice
13   served by the granting of such continuance outweigh the interests of
14   the public and the defendant in a speedy trial.
15      IT IS SO ORDERED.
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     DATED: June 15, 2012
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